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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 In Re: PARAQUAT PRODUCTS                             )
 LIABILITY LITIGATION                                 )       Case No.: 3:21-md-3004-NJR
                                                      )
                                                      )       MDL No. 3004
 This Document Relates to All Cases                   )

           PLAINTIFFS’ MOTION FOR ALTERNATE SERVICE OF PROCESS
                        ON DEFENDANT SYNGENTA AG

        Plaintiffs, pursuant to Federal Rule of Civil Procedure 4(f), request entry of an Order

 authorizing alternate service of process on Swiss Defendant Syngenta AG.

                                          INTRODUCTION

        This Court may authorize Plaintiffs to use alternate service under the applicable federal

 rules. For defendants located outside the United States, Federal Rule of Civil Procedure 4(f)

 authorizes service by alternate means, including email, at the Court’s discretion. Under the present

 circumstances, service of Defendant Syngenta AG via email, via its domestic subsidiary and/or

 domestic counsel of record is proper and justified under the circumstances, where Syngenta AG

 has been aware of and involved in this litigation for several years, has been served via The Hague

 Convention on Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial

 Matters (the “Hague Convention”) in at least one action pending in this MDL, and previously has

 waived service in three actions pending in this MDL.

                                            ARGUMENT

   I.   Federal Rule of Civil Procedure 4(f)(3) authorizes service via email on Syngenta AG’s
        domestic subsidiary and/or its U.S. based counsel.

        Rule 4(f)(3) of the Federal Rules of Civil Procedure allows the Court to authorize service

 of process by any “means not prohibited by international agreement as may be directed by the

 court,” so long as the alternative method of service authorized by the Court is “reasonably

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 calculated, under all circumstances, to apprise interested parties of the pendency of the action and

 afford them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Tr. Co.,

 339 U.S. 306, 314 (1950); see also Zelasko v. Comerio, 2008 U.S. Dist. LEXIS 53316, at *3 (S.D.

 Ill. Jul. 14, 2008); Philip Morris USA Inc. v. Veles Ltd., 2007 U.S. Dist. LEXIS 19780, at *5-8

 (S.D.N.Y. Mar. 13, 2007); Brockmeyer v. May, 383 F.3d 798, 805 (9th Cir. 2004).

        “The decision whether to allow alternative methods of serving process under Rule 4(f)(3)

 is committed to the ‘sound discretion of the district court[;]’” in exercising such discretion, courts

 have consistently held that a plaintiff “is not required to first attempt service through [the Hague

 Convention] under Rule 4(f)(1) before asking th[e] Court to allow alternate means.” Monco v.

 Zoltek Corp., 2018 U.S. Dist. LEXIS 111697, at *11 (N.D. Ill. Apr. 24, 2018) (emphasis added);

 see also Brockmeyer, 383 F.3d at 805. Instead, the court has discretion to allow alternate service

 if “specific facts and circumstances regarding the Foreign Defendants warrant the use of an

 alternative method.” Prod. & Ventures Int’l v. Axus Stationary (Shanghai) Ltd., 2017 U.S. Dist.

 LEXIS 55430, at *7 (N.D. Cal. Apr. 11, 2017).

        “Alternative service is neither a last resort nor extraordinary relief” but rather is one of

 several options available for service of process on a defendant located outside the United States.

 1025 W. Addison St. Apts. Owner, LLC v. Grupo Cinemex, S.A. de C.V., 2021 U.S. Dist. LEXIS

 99131, at *22 (N.D. Ill. May 26, 2021) (internal quotation and citation omitted). Each provision

 of Rule 4(f) stands on equal and independent footing, and a plaintiff is not required to exhaust

 service under one provision before seeking service under Rule 4(f). See Ahkeo Labs LLC v. Plurimi

 Inv. Managers LLP, 2017 U.S. Dist. LEXIS 98374, at *2 (N.D. Ohio Jun. 26, 2017) (noting that

 “courts have consistently found that there is not a hierarchy among the subsections of Rule 4(f)”




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 and a plaintiff “is not required to first exhaust the methods contemplated by Rule 4(f)(1) and (2)

 before petitioning the Court for permission to use alternative means under Rule 4(f)(3).”).

        Alternative service of process by email is proper where, as here, the proposed method of

 service is not prohibited by international agreement. Syngenta AG has been on notice of personal

 injury cases relating to the use of paraquat and subsequent development of Parkinson’s disease for

 nearly four (4) years and has, throughout that period of time, been represented by the same counsel.

 There is no doubt that service of process via email upon Syngenta AG’s U.S. based counsel

 satisfies due process. See Rio Props. v. Rio Int’l. Interlink, 284 F.3d 1007, 1017-18 (9th Cir. 2002)

 (“To be sure, the Constitution does not require any particular means of service of process, only

 that the method selected be reasonably calculated to provide notice and an opportunity to

 respond.”). Syngenta would receive adequate notice by being served at the same email addresses

 that have been used to receive discovery requests and regular correspondence concerning these

 cases for years.

                    a. Service of process via email is not prohibited by international
                       agreement.

        Although the Hague Convention applies with respect to service on Syngenta AG in

 Switzerland, the Hague Convention does not prohibit service by email, even where the country

 (such as Switzerland) in which the defendant is located has objected to specific forms of service

 permitted by Article 10 of the Hague Convention, such as postal mail. Parsons v. Shenzen Fest

 Tech. Co., 2021 U.S. Dist. LEXIS 35903, at *7 (N.D. Ill. Feb. 26, 2021) (permitting email service

 on foreign defendant); Gang Li v. Dolar Shop Rest. Grp., LLC, 2019 U.S. Dist. LEXIS 156851, at

 *4-5 (E.D.N.Y. Sept. 13, 2019) (“I agree with the reasoning of the courts that have found email

 service not prohibited [where a country has objected to other forms of service permitted by Article

 10 of the Hague Convention]”); Sulzer Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329, 331

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 (S.D.N.Y. Nov. 27, 2015) (“China’s objection to service by postal mail does not cover service by

 email, and these forms of communication differ in relevant respects. Email communications may

 be more reliable than long-distance postal communications, and the arrival of an email at its

 destination address may be more readily tracked.”); FTC v. Pecon Software Ltd., 2013 U.S. Dist.

 LEXIS 111375, at *4-5 (S.D.N.Y. Aug. 7, 2013) (holding that India’s objection to Article 10 of

 the Service Convention did not prevent service by email pursuant to Rule 4(f)(3) and stating that

 “[n]umerous courts have held that service by email does not violate any international agreement

 where the objections of the recipient nation are limited to those means enumerated in Article 10”);

 Gurung v. Malhotra, 279 F.R.D. 215, 219 (S.D.N.Y. 2011) (allowing service on defendants in

 India by electronic mail because India’s “objection to service through postal channels does not

 amount to an express rejection of service via electronic mail.”); Williams-Sonoma Inc. v.

 Friendfinder Inc., 2007 U.S. Dist. LEXIS 31299, at *2 (N.D. Cal. Apr. 17, 2007) (permitting

 service by email pursuant to Rule 4(f)(3) on defendants located in countries that had objected to

 Article 10 of Service Convention).

        Service in Switzerland requires the translation of the complaint, civil cover sheet, and

 summonses.      See    Switzerland     –    Central    Authority    &     Practical   Information

 (https://www.hcch.net/en/states/authorities/details3/?aid=276). After translation, the documents

 must be transmitted to Switzerland’s Central Authority for service, a process which takes months

 and perhaps even longer due to the ongoing COVID-19 pandemic. See id. Contrary to the designs

 of Federal Rule of Civil Procedure 1, such service will result in extensive delay and expense for

 all claimants seeking to participate in this coordinated proceeding. See Societe Nationale

 Industrielle Aerospatiale v. United States Dist. Court for S. Dist., 482 U.S. 522, 542-3 (1987) (“A




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 rule of first resort [to the Hague Convention] in all cases would therefore be inconsistent with the

 overriding interest in the ‘just, speedy, and inexpensive determination’ of litigation in our courts”).

                    b. Service of process via email is reasonably calculated to provide notice
                       to Syngenta AG.

         “By design, Rule 4(f)(3) was adopted in order to provide a modern flexibility and discretion

 to the federal courts in today’s digital age in dealing with questions of alternative methods of

 service of process in foreign countries.” Philip Morris, 2007 U.S. Dist. LEXIS 19780, at *8

 (internal quotations and citation omitted). “Such flexibility necessarily includes the utilization of

 modern communication technologies to effect service when warranted by the facts.” Broadfoot v.

 Diaz (In re International Telemedia Assocs.), 245 B.R. 713, 720 (Bankr. N.D. Ga. 2000). Thus,

 courts have fashioned a variety of different methods of service, including service by email. See,

 e.g., Prediction Co. LLC v. Rajgarhia, 2010 U.S. Dist. LEXIS 26536, at *1-5 (S.D.N.Y. Mar. 22,

 2010) (allowing service by email address previously used by defendant to communicate with

 plaintiff); Philip Morris, 2007 U.S. Dist. LEXIS 19780, at *9-10 (allowing service by email and

 fax).

         Service by email is particularly appropriate and constitutionally permissible where, as here,

 a defendant is a multi-national corporation engaged in extensive online operations and email

 communications. See, e.g., McCluskey v. Belford High Sch., 2010 U.S. Dist. LEXIS 62608, at *9-

 10 (E.D. Mich. June 24, 2010) (concluding that service via email was appropriate where the

 defendants relied on email to conduct their business). “The current global pandemic provides

 further reason [] that service via email satisfies due process, as it is the most efficient method to

 accomplish service.” Grp. One Ltd. v. GTE GmbH, 2021 U.S. Dist. LEXIS 84335, at *41

 (E.D.N.Y. Feb. 3, 2021). “[C]ompared to postal mail, emails are more reliable.” Id. Thus, email




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 service has the greatest likelihood of reaching Syngenta AG, particularly considering the

 challenges posed by the ongoing COVID-19 global pandemic.

         Syngenta AG is well-aware of litigation pending against it for paraquat-related injuries.

 It has been involved in related litigation in Illinois state court since 2017. It was served via the

 Hague Convention, and domestic counsel at Kirkland & Ellis entered appearances on behalf of

 Syngenta AG beginning in 2018. See Hoffmann v. Syngenta Crop Protection LLC, 17-L-0517 (Ill.

 Cir. Ct., 20th Jud. Cir.), Proof of Service dated Oct. 24, 2017, Entries of Appearance filed 2018-

 2021 (attached hereto as Exhibits A and B, respectively). Likewise, service was effected on

 Syngenta AG via the Hague Convention in multiple cases pending in California state court. See

 e.g., Cathey v. Syngenta AG, Case No. C19-00666 (Sup. Ct., Contra Costa County,

 California); Eskelsen v. Syngenta AG, Case No. CGC-575004 (Sup. Ct., San Francisco County,

 California); Champion v. Syngenta et. al, Case No. CGC-19-575011 (Sup. Ct., San Francisco

 County, California); Mansfield v. Syngenta et. al, Case No. C19-00669 (Sup. Ct., Contra Costa

 County, California) (Returns of Service attached hereto as Exhibits C-F, respectively).

        Saliently, Syngenta AG was served via the Hague Convention in Holyfield v. Syngenta AG,

 case number 3:21-pq-00533-NJR (S.D. Ill.), while the case was pending in the Eastern District of

 Missouri. Syngenta AG thereafter joined in the motion to dismiss filed by the other Syngenta

 Defendants and participated in the action, which now is pending in MDL 3004. See Holyfield,

 Case No. 3:21-pq-00533-NJR Return of Service dated Aug. 31, 2020 and Syngenta AG’s Notice

 of Joinder dated Oct. 19, 2020 (attached hereto as Exhibits G and H, respectively). Additionally,

 Syngenta AG previously waived service through its domestic counsel at Kirkland & Ellis in three

 (3) actions currently pending in this MDL. See Hemker v. Syngenta Crop Protection LLC, No.

 3:21-pq-00547-NJR, Doc. 7 (S.D. Ill. Mar. 22, 2021) (attached hereto as Exhibit I); Piper v.



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 Syngenta Crop Protection LLC, No. 3:21-pq-00548-NJR, Doc. 7 (S.D. Ill. Mar. 22, 2021)

 (attached hereto as Exhibit J); Runyon v. Syngenta Crop Protection LLC, No. 3:21-pq-00549, Doc.

 7 (S.D. Ill. Mar. 22, 2021) (attached hereto as Exhibit K).

        There can be no question that Syngenta AG has notice of the claims asserted in MDL 3004.

 Requiring every claimant in this coordinated proceeding to serve Syngenta AG under the Hague

 Convention thwarts the purposes noted in Rule 1 to secure the just, speedy, and inexpensive

 determination of every action and proceeding, as well as the purpose behind 28 U.S.C. § 1407 to

 promote the just and efficient conduct of such actions.

                    c. Email service upon Syngenta AG’s U.S. based counsel who also
                       represent its wholly-owned domestic subsidiary is justified.

        Service on a subsidiary of a foreign corporation can be permissible as an independent

 means of accomplishing service, where that subsidiary is an agent. See, e.g. In re Cathode Ray

 Tube Antitrust Litig., 2008 U.S. Dist. LEXIS 111384 (N.D. Cal. Sept. 3, 2008) (service of foreign

 defendant through domestic subsidiary and counsel); In re LDK Solar Sec. Litig., 2008 U.S. Dist.

 LEXIS 90702 (N.D. Cal. Jun. 12, 2008) (authorizing service on local subsidiary); Volkswagenwerk

 AG v. Schlunk, 486 U.S. 694, 707-08 (1988) (Hague Convention need not be used to serve process

 on a foreign corporation when service can be made on a U.S. subsidiary with a sufficiently close

 relationship to overseas parent); Zisman v. Sieger, 106 F.R.D. 194, 199-200 (N.D. Ill. 1985)

 (service accomplished within United States on local agent of foreign defendant renders Hague

 Service Convention inapplicable). Defendant Syngenta Crop Protection LLC is a named defendant

 in every case currently pending in MDL 3004; it is a wholly-owned subsidiary of Syngenta AG.

 See Syngenta AG U.S. Securities and Exchange Commission Form 20-F, p. 35 (Feb. 12, 2015)

 (https://www.sec.gov/Archives/edgar/data/1123661/000095010315001201/dp52748_20f.htm)




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 (last visited Aug. 18, 2021) (noting Syngenta AG’s “100%” ownership of Syngenta Crop

 Protection LLC).

        Not only is Syngenta Crop Protection LLC a wholly-owned subsidiary of Syngenta AG,

 but they also are represented by the same U.S. based counsel in this MDL and related state court

 litigation. Federal courts have held that a defendant does not have to authorize service on U.S.

 based counsel. 1025 W. Addison St., 2021 U.S. Dist. LEXIS 99131, at *22. “Courts have allowed

 service upon a foreign defendant’s U.S. counsel to prevent further delays in litigation and, in fact

 service upon a foreign defendant’s United States-based counsel is a common form of service under

 Rule 4(f)(3).” Id. at *25 (internal quotation and citation omitted); see also Prod. & Ventures Int’l

 v. Axus Stationary (Shanghai) Ltd., 2017 U.S. Dist. LEXIS 55430, at *11 (N.D. Cal. Apr. 11, 2017)

 (“Service upon a foreign defendant’s counsel based in the United States is a common form of

 substituted service under Rule 4(f)(3) and it comports with due process.”); Richmond Techs., Inc.

 v. Aumtech Bus. Solutions, 2011 U.S. Dist. LEXIS 71269, at *44 (N.D. Cal. Jul. 1, 2011) (same);

 Knit With v. Knitting Fever, Inc., 2010 U.S. Dist. LEXIS 129870, at *4 (E.D. Pa. Dec. 7, 2010)

 (“Repeatedly, courts around the country have found that service upon a foreign defendant through

 counsel is appropriate to prevent further delays in litigation.”). Nothing in the Hague Convention

 prohibits such service. Richmond, 2011 U.S. Dist. LEXIS 71269, at *44, citing RSM Production

 Corp. v. Fridman, 2007 U.S. Dist. LEXIS 58194, at *3 (S.D.N.Y. Aug. 10, 2007).

        As noted above, Syngenta Crop Protection LLC and Syngenta AG are represented by the

 same counsel in the Hoffmann matter in Illinois state court, where Syngenta AG was served using

 the Hague Convention; in the JCCP proceedings in California state court, where Syngenta AG has

 been served using the Hague Convention; in the Holyfield case currently pending in MDL 3004,

 in which Syngenta AG was served using the Hague Convention; and in the Hemker, Piper, and



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 Runyon cases, in which both Syngenta Defendants waived service of process in this MDL. Under

 these circumstances, service of process on Syngenta AG via email on its domestic subsidiary

 Syngenta Crop Protection LLC and/or its shared U.S. based counsel satisfies the requirements of

 Rule 4(f)(3) and comports with due process.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

 and authorize alternate service of process on the Defendant Syngenta AG.

 Dated: September 3, 2021                            Respectfully submitted,

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                                                     Plaintiffs’ Co-Lead Counsel




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 3, 2021, I electronically filed Plaintiffs’ Motion for

 Alternate Service of Process on Defendant Syngenta AG with the Clerk of Court using the

 CM/ECF system, which will send electronic notification of such filing to counsel of record.


                                                     Respectfully submitted,

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